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 Jeanne LoCicero
 American Civil Liberties Union
 of New Jersey Foundation
 570 Broad Street, 11th Floor
 P.O. Box 32159
 Newark, New Jersey 07102
 Tel: (973) 854-1718
 jlocicero@aclu-nj.org

 Counsel for Petitioner


                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,                          Case No. 2:25-cv-01963
                                           (MEF)(MAH)
        Petitioner,

  v.                                       CERTIFICATION OF BRETT
                                           MAX KAUFMAN IN SUPPORT
  WILLIAM JOYCE ET AL.,                    OF APPLICATION FOR
                                           ADMISSION PRO HAC VICE
        Respondent.                        PURSUANT TO LOCAL CIVIL
                                           RULE 101.1




       I, Brett Max Kaufman, hereby certify the following:

       1.    I am an attorney at the American Civil Liberties Union Foundation

 (“ACLU”). I have been requested to represent Petitioner in this matter.
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         2.    I am a member in good standing of the New York State bar as of

 2010.

    3. I am also admitted to practice before the following courts:



          Court                              Year of               Attorney
                                             Admission             Rolls
                                                                   Maintained
                                                                   By:
          New York State Appellate           2010                  Supreme
          Division, Second Department                              Court, State
                                                                   of New York
                                                                   Appellate
                                                                   Division,
                                                                   Second
                                                                   Department
                                                                   45 Monroe
                                                                   Place
                                                                   Brooklyn, NY
                                                                   11201
          U.S. Supreme Court                 2016                  1 First Street,
                                                                   NE
                                                                   Washington,
                                                                   DC 20543
          U.S. Court of Appeals for the      2013                  Thurgood
          Second Circuit                                           Marshall
                                                                   United States
                                                                   Courthouse
                                                                   40 Foley
                                                                   Square
                                                                   New York,
                                                                   New York
                                                                   10007
          U.S. Court of Appeals for the      2017                  United States
          Third Circuit                                            Court of
                                                                   Appeals for
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                                                                 the Third
                                                                 Circuit
                                                                 21400 U.S.
                                                                 Courthouse
                                                                 601 Market
                                                                 Street
                                                                 Philadelphia,
                                                                 PA 19106-
                                                                 1790
        U.S. Court of Appeals for the        2020                Lewis F.
        Fourth Circuit                                           Powell Jr.
                                                                 Courthouse &
                                                                 Annex
                                                                 1100 East
                                                                 Main Street,
                                                                 Suite 501
                                                                 Richmond,
                                                                 VA 23219
        U.S. Court of Appeals for the        2019                The James R.
        Ninth Circuit                                            Browning
                                                                 Courthouse
                                                                 95 7th Street
                                                                 San
                                                                 Francisco,
                                                                 CA 94103
        U.S. Court of Appeals for the        2023                Byron White
        Tenth Circuit                                            Court House
                                                                 1823 Stout
                                                                 Street
                                                                 Denver, CO
                                                                 80257
        U.S. Court of Appeals for the        2015                Jarrett B.
        Federal Circuit                                          Perlow
                                                                 717 Madison
                                                                 Place, NW
                                                                 Washington,
                                                                 DC 20439
        U.S. Court of Appeals for the D.C.   2020                333
        Circuit                                                  Constitution
                                                                 Avenue N.W.
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                                                                       Washington
                                                                       D.C. 20001
        U.S. District Court for the             2012                   Thurgood
        Southern District of New York                                  Marshall
                                                                       United States
                                                                       Courthouse
                                                                       40 Foley
                                                                       Square
                                                                       New York,
                                                                       NY 10007
        U.S. District Court for the Western 2019                       2120 Kenneth
        District of New York                                           B. Keating
                                                                       Federal
                                                                       Building
                                                                       100 State
                                                                       Street
                                                                       Rochester,
                                                                       NY 14614


       4.      No professional disciplinary proceedings are pending against me in

 any jurisdiction and no professional discipline has previously been imposed on

 me in any jurisdiction.

       5.      In the event I am admitted pro hac vice, I agree to:

            a. Make payment to the New Jersey Lawyer’s Fund for Client

               Protection as provided by New Jersey Court Rule 1:28-2(a) for each

               year in which I represent Petitioner in this matter;

            b. Abide by the Rules of this Court, including any relevant disciplinary

               rules;
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            c. Notify this Court immediately of any matters affecting my standing

               at the Bar of any other Court; and

            d. Have all pleadings, briefs, and other papers filed with the Court

               signed by an attorney of record authorized to practice in the United

               States District Court for the District of New Jersey.

       6.      In view of the foregoing, I respectfully request that I be admitted

 pro hac vice.



 Pursuant to 28 U.S.C. § 1746, I affirm under penalty of perjury that the above

 statements are true and correct.



 Dated: March 21, 2025                              Respectfully Submitted,
                                                    /s/Brett Max Kaufman
                                                    Brett Max Kaufman
                                                    American Civil Liberties
                                                    Union Foundation
                                                    125 Broad St., 18th Fl.,
                                                    New York, NY 10004
                                                    Tel: (212) 549-2500
                                                    bkaufman@aclu.org
